         Case 1:18-bk-11359-MB Doc 15 Filed 06/20/18                                Entered 06/20/18 21:58:52                Desc
                             Imaged Certificate of Notice                           Page 1 of 2
                                              United States Bankruptcy Court
                                             Central District of California
In re:                                                                                                     Case No. 18-11359-MB
Larissa Kirakosian                                                                                         Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0973-1                  User: admin                        Page 1 of 1                          Date Rcvd: Jun 18, 2018
                                      Form ID: odspb                     Total Noticed: 8


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 20, 2018.
db             +Larissa Kirakosian,   17966 Valley Vista,    Encino, CA 91316-4219
smg             Los Angeles City Clerk,    P.O. Box 53200,   Los Angeles, CA 90053-0200
cr             +Deutsche Bank National Trust Company, as trustee,,    The Wolf Firm,   2955 Main Street,
                 Second Floor,   Irvine, CA 92614-2528
38543857       +NOTE SERVICING CENTER INC,    3275 E ROBERTSON BLVD #B,   CHOWCHILLA CA 93610-7405
38543855       +SEARS CITI CREDIT,   POB 20348,    ATLANTA GA 30325-0348
38543856       +USAA LOAN FEDERAL SAVINGS BANK,    10750 MC DERMOTT FRW,   SAN ANTONIO TX 78288-1600

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             EDI: EDD.COM Jun 19 2018 07:08:00     Employment Development Dept.,   Bankruptcy Group MIC 92E,
                 P.O. Box 826880,   Sacramento, CA 94280-0001
smg             EDI: CALTAX.COM Jun 19 2018 07:13:00     Franchise Tax Board,   Bankruptcy Section MS: A-340,
                 P.O. Box 2952,   Sacramento, CA 95812-2952
                                                                                            TOTAL: 2

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
intp              Courtesy NEF
                                                                                                                    TOTALS: 1, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 20, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 18, 2018 at the address(es) listed below:
              Daniel K Fujimoto   on behalf of Creditor   Deutsche Bank National Trust Company, as trustee, on
               behalf of the holders of the Impac Secured Assets Corp. Mortgage Pass-Through Certificates
               Series 2007-2 wdk@wolffirm.com
              Edward A Treder   on behalf of Interested Party   Courtesy NEF cdcaecf@bdfgroup.com
              Elizabeth (SV) F Rojas (TR)   cacb_ecf_sv@ch13wla.com
              Nancy L Lee   on behalf of Interested Party   Courtesy NEF bknotice@mccarthyholthus.com,
               nlee@ecf.courtdrive.com
              United States Trustee (SV)   ustpregion16.wh.ecf@usdoj.gov
                                                                                            TOTAL: 5
     Case 1:18-bk-11359-MB Doc 15 Filed 06/20/18                                Entered 06/20/18 21:58:52                Desc
                         Imaged Certificate of Notice                           Page 2 of 2
Form odspb−odspab/autodismi
Rev. 06/2017

                                              United States Bankruptcy Court
                                                Central District of California
                                           21041 Burbank Blvd, Woodland Hills, CA 91367−6603

                          ORDER AND NOTICE OF DISMISSAL FOR
                  FAILURE TO FILE SCHEDULES, STATEMENTS AND/OR PLAN
    DEBTOR INFORMATION:                                                             BANKRUPTCY NO. 1:18−bk−11359−MB
    Larissa Kirakosian
                                                                             CHAPTER 13
    Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s)., (if any): xxx−xx−4550
    Employer Tax−Identification (EIN) No(s).(if any): N/A
    Debtor Dismissal Date: 6/18/18


    Address:
    17966 Valley Vista
    Encino, CA 91316


It appearing that the debtor(s) in the above−captioned case has failed to file all the documents required under FRBP 1007 or
3015(b) within 14 days after the filing of the petition and no motion for an order extending the time to file the required documents
has been timely filed in accordance with FRBP 1007(a)(5) or 3015(b),


       IT IS HEREBY ORDERED THAT:

       1)      The case is dismissed.

       2)      The automatic stay is vacated.

       3)      Any discharge entered in this case is vacated.

       4)      The Court retains jurisdiction on all issues involving sanctions, any bar against being a debtor in bankruptcy, all
               issues arising under Bankruptcy Code §§ 105, 109(g), 110, 329, 349, and 362, and to any additional extent
               provided by law.




                                                                                  By the Court,
Dated: June 18, 2018                                                              Kathleen J. Campbell
                                                                                  Clerk of Court




Form odspb−odspab/autodismi Rev. 06/2017                                                                                    12 / AUT
